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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

La’Shaun Clark

 

       

 

(Include case number if one has been
assigned)

Write the full name of each plaintiff.

~against-

New York City Housing Authority , COMPLAINT

New York Insulation & Environmental Services,

 

Do you want a jury trial?
wi Yes (iNo

 

JLC Environmental Consultants, Inc.,

 

Rockmills Steel Products Corp.

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above niust be identical to those
contained in Section I.

 

 

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PHO SE OFFICE)

 

 

 

 

 

 

 

NOTICE

with the court should therefore not contain: an individual's full social security number or full
birth date; the full name of a person known te be a minor; or a complete financial account

nay leciide onofy: tha tsi four digits of a sacial security number; the year of

  

Va minue’s initials; and the last four digits of a financial account number,

a aoe bom, . .
inc oF Civ Procedure 5.2,

 

 
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I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. in a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
LI] Federal Question
wf Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?

 

 

B. If you checked Diversity of Citizenship
1. Citizenship of the parties

Of what State is each party a citizen?

The plaintiff , | La’Shaun Clark

oo _,is a citizen of the State of
{Plaintiff’s name}

Georgia

 

 

(State in which the person resides and intends to remain.)

or, if not lawiully admitted for permanent residerwe in the United States, a citizen or
subject of the foreign state of

if more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff,

Pave 2,

 
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lf the defendant is an individual:

The defendant, , is a citizen of the State of
(Defendant's name}

 

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

Naw Nog KTNSAlasiOn + EAWonimental Saees
If the defendant is a corporation: & @ na ee.

tN NS Ond
New York City Aa ing Ch aS SENS) wae ©

The defendants, ,is incorporated under the Saws of

New York

 

the State of

 

and has its principal place of business in the State of New York

 

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

If more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

H. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

La’Shaun $ Clark

 

First Name Middle Initial Last Name

6313 £. Shore Circle

 

 

 

 

Street Address

Dougiasville Georgia 30735
County, City State Zip Code
678-654-9565 Zavion00@msn.com
Telephone Number Email Address (if available)

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B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1:

Defendant 2:

Defendant 3:

 

First Name Last Name
New York City Housing Authority (Law Dept. General counsel )

 

Current Job Title (or other identifying information)
250 Broadway 9th. Floor

 

Current Work Address for other address where defendant may be served)

 

 

New York New York 10007
County, City State zip Code
First Name Last Name

New York insulation & Environmental Services, Inc.

 

Current Job Title (or other identifying information}
Asbestos abatement / 31-19 30th. Avenue

 

t-.

Current Work Address {or other address where defendant may be served)

 

Astoria New York _ 1 1102
County, ‘City State Zip Code
First Name : — Last Name

JLC Environmental Consultants, Inc. / Air Abatement company
Current Job Title (or other identifying information)
243 W. 30th. Street Suite 701 _

 

 

 

 

 

Current Work Address {or other adi address where defendant “may be served)
New York _ New York — _ 10001

 

County, City State - Zip Code

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Defendant 4:

 

First Name Last Name
Rockmills Stee! Products Corp.

 

Current Job Title (or other identifying information}
Rockmills Boiler 59-12 54th. Street

Current Work Address {or other address where defendant may be served)
Maspeth New York 11378

County, City State Zip Code

 

 

Ill. STATEMENT OF CLAIM
NYCHA / 1100 Teller Avenue Apt. # 1H Bronx, N.Y. 10456

Place(s) of occurrence:

 

Date(s) of occurrence: 2/9/04, 2/10/04 , 2/11/04 ( contractors notified 1/22/04 )

 

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

NYCHA harmed me when | lived at 1100 Teller Avenue apt. # 1H Bronx New York

10456. lived there. from.2004 to 2012, NYCHA never tald me that chrysotile ashestos.__
was found in the the floor tile and was allegedly abated in the apartment | lived in. |

rforamoid case —
for my two sons that was in my case file showing that 3.7% chrysotile asbestos was in
the floor tile and 2.0% in the mastic. | was diagnosed with COPD on 7/10/19 as anon

_smoker/ never srneker,Asbestosis pleural parenchymal Jung scarring on 7A8/19 and —_
Gerd.

“New York insutation & Environnieritatservices allegedly abated the tioor tile or 2/9/04 _
they harmed me as the floor tiles became friable in March of 2009. If If Abatoment Was
done the floor tiles should have never been broken and crumbling i into pieces only 5
years-lator JLC Environmental Consullants_inc-is responsible-as well because they ——_
never abated ine Air. Rockmilis Steel Products Corp are responsible as well for my

“asbestos exposure as flived directly above tie bolter room and the Holler thal was
_installed in the building was manufactured by Rockmills Boilers which contained

 

 

 

 

asbostas materials. Often Housing maivenance workers would pe working on the boiler.
ane cist and debris would came through: the-radiaior-hoeaterin-my-bedroom-t| diresthy—
intialod dust articles through the pining in the opartment that caused me irreversible —

 

 

Tung disease, SCaning of my jungs and Qasio Osophagead mth disease Pam dna 7
supplemental oxyaan breathing | mach mie, nebulizer orconchaddators & redux modicine.

NYGHA should have warnec me apout ‘the ashesios inal was found in tne foarte
~bofors bonived in May oF 2004. Nowhore on ty loase signed by me en May t4; c0e4-—

warned me of the potential health hazard of asbestos. OWN2\Q aN Subhngy \Nud\ Nas
ond ucced bark \
ai

 

 

 

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Vested as Venuled Yd WY = baa Jaa SV UES PRES “\

Aemolscond “LL Hie Ny mH NG OKheY SUM ANS VR . ~ ih ove OC.
m\ Cimim v& Aewr\rcrony dre ( Pay war {eawovor os P

 
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| took NYCHA to Housing court on 1/14/11 for repairs and one of the repairs listed was

found in the floor tile and that it was allegedly abated. NYCHA never fixed the broken

breathing in friable asbestos for 3 years straight. | have pictures dated March 16, 2009
showing the broken floor tiles. 15 years later | now suffer from COPD, parenchymal lung

 

future risks of developing asbestos related diseases as 5 asbestos diseases ¢ are latent. |

mesothelioma. | constantly spit thick bubbly sputum, have chest pain and chronic cough
with Asthenia. a, My he health \ was Severely compromised by all defendants as if defendants

 

disabled and on many medications. . My Ite h has been mn completely destroyed by the
negligence of all defendants.( Abatement contract # AS0200030 Air Montr #PD0200186

 

INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

My i lures é are COPD, > Mung scarnng a and Gerd. lam on Ssuppiemental oxygen. n nebulizer

 

restrictive lung disease defect | ‘have 8 severe * Dyspnea, te tenacious mucus sputum

doctor regularly to monitor my breathing function with PFT tests. There is no cure for
“COPD, tung scarring dnd Gerd: Twillive with these debilitating tinesses forthe rest of _

my life and may possibly have cancer as my health is getting worse.

 

IV. RELIEF

State briefly what money damages or other relief you want the court to order.

lam asking for 50,000,000 { Fifty Million Dollars) to be equally ; allocated for damages

 

$10, 000, ‘00 ( Ten million ‘dollars) to "be paid by NYCHA as NYCHA unequivocally knew
that they-exposed ime _to-asbestes-an

concealing that asbestos was found and only produced documents after | had already
roved outin 26t2 in

by NYCHA. Notice of claim was certified mailed to NYCHA law department General

counsel and received TO/27/TY 96 days has passed as applicable by law to commence

lawsuit and no response from NYCHA regarding my claims.

 

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V. PLAINTIFF'S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11,

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case,

necessary. If seeking to
pplication.

Each Plaintiff must sign and date the complaint. Attach additional pages }

proceed without prepayment of fees, each plaintiff “orn! an
January 3, 2020

     
    

 

 

 

 

 

 

 

Dated Plaintiff's Signature
La’Shaun S Clark
First Name Middle Initial Last Name
6313 E. Shore circle
Street Address
Dougias/Douglasville Georgia 30135
County, City State Zip Code
678-654-9565 Zavion00@msn.com
Telephone Number Email Address (if available)

I have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
Yes {] No

If you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

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To: United States District Court Southern District Of New York
Attn: Pro Se Intake Unit

From: La’Shaun Clark / Plaintiff

Date: January 3, 2020

Attached to this cover letter is my complaint 1 original and 2copies, application to proceed without
prepaying fees or costs ( IFP} and proof of social security disability income. Please at your earliest
convenience let me know that it has been received and filed. Thank you for your time and service as it is
preatly appreciated.

Regards,
La’Shaun Clark x {

6313 E. Shore Circle
Douglasville, Georgia 30135
Tel: 678-654-9565

Email: ZaviondD0@msn.cam

 
 

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